                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

Homeland Insurance Company of NY

v                                                                               A:20-cv-783 RP

Clinical Pathology Laboratories, Inc., et al

                                  AGREED SCHEDULING ORDER

                Pursuant to Federal Rule of Civil Procedure 16, the following Agreed Scheduling Order is

issued by the Court:


    1.      A report on alternative dispute resolution in compliance with Local Rule CV-88 shall be filed
                          January 29, 2022
            on or before _________________________.

    2.      The parties asserting claims for relief shall submit a written offer of settlement to opposing
                                  July 9, 2021
            parties on or before _________________________, and each opposing party shall respond,
                                      July 23, 2021
            in writing, on or before _________________________. All offers of settlement are to be

            private, not filed. The parties are ordered to retain the written offers of settlement and

            responses so the Court may use them in assessing attorney’s fees and costs at the conclusion

            of the trial.

    3.      Each party shall complete and file the attached “Notice Concerning Reference to United
                                                   June 4, 2021
            States Magistrate Judge” on or before _________________________.

    4.      The parties shall file all motions to amend or supplement pleadings or to join additional
                                   June 18, 2021
            parties on or before _________________________.

    5.      All parties asserting claims for relief shall file their designation of testifying experts and serve

            on all parties, but not file, the materials required by Federal Rule of Civil Procedure
                                     October 22, 2021
            26(a)(2)(B) on or before ________________________. Parties resisting claims for relief

            shall file their designation of testifying experts and serve on all parties, but not file, the
     materials required by Federal Rule of Civil Procedure 26(a)(2)(B) on or before November 12,

     2021.   All parties shall file all designations of rebuttal experts and serve on all parties the

     material required by Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal experts, to

     the extent not already served, 15 days from the receipt of the report of the opposing expert.


6.   An objection to the reliability of an expert’s proposed testimony under Federal Rule of

     Evidence 702 shall be made by motion, specifically stating the basis for the objection and

     identifying the objectionable testimony, within 11 days from the receipt of the written report

     of the expert’s proposed testimony, or within 11 days from the completion of the expert’s

     deposition, if a deposition is taken, whichever is later.

7.                                                          January 21, 2022
     The parties shall complete all discovery on or before ________________________.

8.                                                        April 22, 2022
     All dispositive motions shall be filed on or before ________________________ and shall

     be limited to 20 pages. Responses shall be filed and served on all other parties not later than

     14 days after the service of the motion and shall be limited to 20 pages. Any replies shall be

     filed and served on all other parties not later than 7 days after the service of the response

     and shall be limited to 10 pages, but the Court need not wait for the reply before ruling on

     the motion.

9.   The Court will set this case for final pretrial conference at a later time. The final pretrial

     conference shall be attended by at least one of the attorneys who will conduct the trial for

     each of the parties and by any unrepresented parties. The parties should consult Local Rule

     CV-16(e) regarding matters to be filed in advance of the final pretrial conference.




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10.                          Jury
      This case is set for ______________ trial commencing at 9:00 a.m. on

                        September 12
      ___________________________________________,    22
                                                   20________.

      By filing an agreed motion, the parties may request that this Court extend any deadline set in

      this Order, with the exception of the dispositive motions deadline and the trial date. The

      Court may impose sanctions under Federal Rule of Civil Procedure 16(f) if the parties do not

      make timely submissions under this Order.



                                         May 19
      SIGNED on _____________________________________________,   21
                                                               20_______.




                                             __________________________________
                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE




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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

                  HOMELAND INSURANCE COMPANY OF NEW YORK,
                             Plaintiff / Counter Defendant
                                            v.
                  CLINICAL PATHOLOGY LABORATORIES, INC., et al.,
                            Defendants / Counter Plaintiffs,
                               Case No. 1:20-CV-783-RP


                        NOTICE CONCERNING REFERENCE TO
                         UNITED STATES MAGISTRATE JUDGE

       In accordance with the provisions of 28 U.S.C. § 626(c), Federal Rule of Civil Procedure 73,

and the Local Rules of the United States District Court for the Western District of Texas, the

following party ________________________________________________________________
        ___ consents to having a United States Magistrate Judge preside over the trial in this case.
through counsel _______________________________________________________________
        ___ declines to consent to trial before a United States Magistrate Judge.



                                                       Respectfully submitted,

                                                       __________________________________

                                                       Attorney for:

                                                       __________________________________




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